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     Federal Defender
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5
     Attorney for Defendant
6    ANTONIO SANCHEZ-GAONA
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No.   2:11-CR-00118 MCE
                                     )
12                  Plaintiff,       )      AMENDED STIPULATION AND ORDER TO
                                     )      RESET MOTION HEARING
13        v.                         )
                                     )
14   ANTONIO SANCHEZ-GAONA, et. al. )
                    Defendants.      )      Date: March 22, 2012
15                                   )      Time: 9:00 a.m.
     _______________________________ )      Judge: Hon. Morrison C. England
16
17
18         The parties, Antonio Sanchez-Gaona and the United States request
19   that the date for the hearing on Mr. Sanchez-Gaona’s         motion to suppress
20   be continued from March 22, 2012, to April 5, 2012. The defendant’s
21   optional reply will be due on March 22, 2012.         All remaining parties in
22   the case also request that the status conference for all remaining
23   parties in the case be reset from March 22, 2012 until April 5, 2012.
24         The reason for the continuance is allow the court sufficient time to
25   review the pleadings on the motion to suppress. The parties agree a
26   continuance is necessary for this purpose, and agree to exclude time
27   under the Speedy Trial Act accordingly.
28   ///
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1         IT IS STIPULATED that the period from the signing of this Order, up
2    to and including April 5, 2012 be excluded in computing the time within
3    which trial must commence under the Speedy Trial Act, pursuant to 18
4    U.S.C. §3161(h)(1)(D), Local Code E for pretrial motions and 18 U.S.C.
5    §3161(h)(7)(B)(iv), Local Code T-4 for ongoing preparation of counsel.
6    Dated: March 20, 2012
                                            Respectfully submitted,
7
                                            DANIEL BRODERICK
8                                           Federal Defender
9
                                            /s/ Douglas Beevers
10                                          DOUGLAS BEEVERS
                                            Assistant Federal Defender
11                                          Attorney for Defendant
                                            ANTONIO SANCHEZ-GAONA
12
     Dated: March 20, 2012                  /s/ Dina Santos
13                                          DINA SANTOS
                                            Attorney for
14                                          Juan Oscar Martinez-Arias
15   Dated: March 20, 2012                  /s/ Gilbert Roque
                                            GILBERT ROQUE
16                                          Attorney for Daniel Salinas
17   Dated: March 20, 2012                  BENJAMIN B. WAGNER
                                            United States Attorney
18
19                                          /s/ Michael Anderson
                                            MICHAEL ANDERSON
20                                          Assistant United States Attorney
                                            Attorney for Plaintiff
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1                                         ORDER
2           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    hereby ordered that the briefing schedule be changed to the following:
4    the defendant Sanchez-Gaona’s reply is due March 22, 2012; and the Motion
5    Hearing currently set for March 22, 2012 shall be vacated and reset for
6    April 5, 2012 at 9:00 a.m. It is further ordered that the status
7    conference currently set for March 22, 2012 shall be vacated and reset
8    for April 5, 2012 at 9:00 a.m. Based on the representation of defense
9    counsel and good cause appearing therefrom, the Court hereby finds that
10   the failure to grant a continuance in this case would deny defendant
11   reasonable time necessary for effective preparation, taking into account
12   the exercise of due diligence. The Court finds that the ends of justice
13   to be served by granting a continuance outweigh the best interests of the
14   public and the defendant in a speedy trial. It is ordered that time from
15   the date of this Order, up to and including, April 5, 2012 be excluded
16   from computation of time within which the trial of this matter must be
17   commenced under the Speedy Trial Act pursuant to pursuant to 18 U.S.C.
18   §3161(h)(1)(D),   Local   Code   E   for   pretrial   motions   and   18   U.S.C.
19   §3161(h)(7)(B)(iv), Local Code T-4 for ongoing preparation of counsel.
20
     Dated: March 28, 2012
21
22                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
23
                                          UNITED STATES DISTRICT JUDGE
24
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